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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )   Criminal No. 6:13-cr-00049-GFVT-HAI-10
                                                  )
 V.                                               )
                                                  )
 JAMES THOMAS WOODS,                              )                    ORDER
                                                  )
                                                  )
        Defendant.

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 389] filed by

United States Magistrate Judge Hanly A. Ingram. Defendant James Thomas Woods is charged

with two violations of his supervised release stemming from his use of methamphetamine in

March 2018. [Id. at 2.] At a final revocation hearing before Judge Ingram on April 13, 2018,

Mr. Woods admitted the factual basis for these violations. [See id. at 3.] The matter was then

referred to Judge Ingram to recommend a proposed disposition.

       On April 16, 2018, Magistrate Judge Ingram issued a Recommended Disposition which

recommended revocation of Mr. Woods’s supervised release and a nine-month term of

imprisonment followed by a one-year term of supervised release under the conditions previously

imposed. [Id. at 7-8.] Judge Ingram structured this recommended sentence based on the

arguments of the parties. While the parties agreed to a term of imprisonment for this revocation,

they did not agree to subsequent supervised release. [See id. at 4.] Judge Ingram noted that this

is the defendant’s second revocation involving illicit drug use. [Id. at 6.] The Magistrate also
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noted that Defendant Woods’s violations are strongly related to his underlying conviction of a

methamphetamine related offense. [Id.] On the whole, Judge Ingram appropriately considered

the 18 U.S.C. § 3553 factors throughout his Recommended Disposition, and he adequately

explained why a within-guideline sentence of nine months is appropriate in this case.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition further advises the parties that objections must be filed within fourteen (14) days of

service. [Id. at 8.] See 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Recommended

Disposition have been filed by either party. Indeed, Defendant Woods, through counsel, filed a

waiver of allocution. [R. 390.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Recommended Disposition [R. 389] as to Defendant James Thomas Woods is

ADOPTED as and for the Opinion of the Court;

       2.      Defendant Woods is found to have violated the terms of his Supervised Release as

set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition of
                                                  2
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the Magistrate Judge;

       3.      Defendant Woods’s Supervised Release is REVOKED;

       4.      Mr. Woods is SENTENCED to the Custody of the Bureau of Prisons for a nine-

month term of imprisonment; and

       5.      Following his release from incarceration, Mr. Woods is placed on supervised

release for a term of one year.

       This the 1st day of May, 2018.




                                               3
